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2020 Commitment March on Washington 're-imagined' to protect against COVID, DC Mayor
says

by ABC7 StaffMonday, August 17th 2020

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The National Mall on Monday, August 17, 2020. (ABC7)

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WASHINGTON (ABC7) — On Friday, August 28, thousands of people are expected in D.C. for
the Commitment March, a 2020 version of the March on Washington on the 57th anniversary of
the original march.



It was organized in the wake of George Floyd's killing at the hands of Minneapolis police in late
May, announced by Rev. Al Sharpton at Floyd's memorial service.



According to information released last month, the day will begin with speakers at the Lincoln
Memorial, and participants will later march from there to the Martin Luther King, Jr. Memorial.



Now ABC7 is learning that organizers are working to control the size of the event to prevent the
spread of COVID-19.



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D.C. Mayor Muriel Bowser said Monday that the event has been "re-imagined" with the
pandemic in mind.



"So it's not a big march that was initially envisioned, but a seated event where the number of
seats would be limited, people would be checked going into the seated area and it would be a
much smaller attendance," she said.
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Bowser also insisted Monday that people coming from high risk states quarantine in D.C. for two
weeks before attending the march.



RELATED: D.C. requires 14-day quarantine for nonessential travelers from 27 states



And, possibly to discourage people coming from those states, there will be questions about
permits — whether people will be permitted to have buses from certain states parked in certain
areas.
